                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 06-0136
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 MICHAEL DAVID KNIGHT,                 RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEAS
                     ____________________


                      I. INTRODUCTION AND BACKGROUND
       On October 19, 2006, a four-count Indictment was returned against the defendant
Michael Knight. On January 12, 2007, the defendant appeared before United States
Magistrate Judge Paul A. Zoss and entered pleas of guilty to Counts 1 and 2 of the
Indictment. On January 12, 2007, Judge Zoss filed a Report and Recommendation in
which he recommended that defendant’s guilty pleas be accepted. On January 12, 2007,
Defendant filed a Waiver of Objections to Report and Recommendation. The court,
therefore, undertakes the necessary review of Judge Zoss' recommendation to accept
defendant’s pleas in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the

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              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss' Report and Recommendation of January 12,
2007, and accepts defendant’s pleas of guilty in this case to Counts 1 and 2 of the
Indictment.
      IT IS SO ORDERED.
      DATED this 16th day of January, 2007.




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